                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



In re:                                                Case: 23-43403-MLO
                                                      Chapter 11
ARK LABORATORY, LLC,                                  Hon. Maria L. Oxholm

      Debtor
____________________________/
PAUL R. HAGE, solely in his                    Adv. P. Case No. 23-04496-MLO
capacity as Liquidating Trustee
of the Ark Laboratory Trust,

         Plaintiff,

v

JAMES A. GROSSI, an Individual,
2210/305 LLC, a Michigan limited liability
company, BRIAN TIERNEY, Individually
and as Trustee of the TIERNEY FAMILY
TRUST DATED 12/21/2018, NAMEER
KIMINAIA, Individually and as Trustee of
the NAMEER KIMINAIA LIVING TRUST
DATED 5/31/2019, TIERNEY FAMILY
TRUST DATED 12/21/2018, NAMEER
KIMINAIA LIVING TRUST DATED
5/31/2019, HAMID SATTAR, ION
DIAGNOSTIC, LLC, a Michigan limited
liability company, and ION MARKETING,
LLC, a Michigan limited liability company,

         Defendants.


             DEFENDANT 2201/305 LLC OBJECTIONS AND RESPONSES TO
                PLAINTIFF’S FIRST SET OF INTERROGATORIES AND
                             DOCUMENT REQUESTS



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      Defendant 2201/305 LLC(“Defendant 2201/305 LLC”), through its attorney,

Lefkowitz Law Group, submits its Objections and Responses to Plaintiff’s First Set of

Interrogatories and Document Requests (“Discovery Requests”), and states as follows:

                                GENERAL OBJECTIONS

      The following General Objections apply to and are incorporated by reference into

each specific answer set forth below; all such objections are expressly preserved.

      1.    Defendant 2201/305 LLC objects to the Discovery Requests to the extent

they request information that is outside of his possession, custody or control.

      2.    Defendant 2201/305 LLC objects to the Discovery Requests to the extent

that they call for answers that would disclose privileged information, including information

protected by the attorney—client privilege, work product doctrine confidential or

proprietary information, trade secret information, and any other applicable privileges.

      3.    Defendant 2201/305 LLC objects to each Discovery Request that is overly

broad unduly burdensome, irrelevant, or not reasonably calculated to lead to the

discovery of admissible evidence.

      4.    To the extent that a specific Discovery Request seeks “all documents”,

without stating with particularity the information south, and within a reasonable date

range, Defendant 2210/305 LLC objects to these Discovery Requests on the grounds

that they are vague, overbroad, unduly burdensome and that it is impossible for

Defendant Grossi to respond to these Discovery Requests in good faith.

      5.    Defendant 2210/305 LLC objects to each definition, instruction and

Interrogatory to the extent that they purport to impose an requirements or discovery

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obligations greater than or different from those under the Federal Rules of Civil

Procedure.

     6.      Defendant 2210/305 LLC objects to the extent that Plaintiff’s Interrogatories

exceed the maximum limit of 32 Interrogatories permitted under the Court’s Adversary

Proceeding Scheduling Order, which incorporates the Report of Parties’ Rule 26(f)

Conference.

     7.      Defendant 2210/305 LLC reserves the right to correct or add to any of the

general or specific objections. Defendant Grossi also reserves the right to supplement

their answers as additional information becomes known.

                                  INTERROGATORIES

     1.      Identify all persons who contributed any information to or assisted you in the

preparation of any discovery request response in the Adversary Proceeding and specify

each of the discovery request(s) to which they contributed.

RESPONSE:         Defendant 2210/305 LLC objects to this Interrogatory because it is
overly broad, unduly burdensome and unreasonable with respect to persons who
contributed and/or assisted in connection with responding to discovery requests directed
to other defendants in this Adversary Proceeding. Subject to and without waiving these
objections, Defendant Grossi states that he has contributed information and assisted in
the preparation of the Discovery Requests directed to him.


     2.      Identify all persons who you know to have and persons you believe to have

any records, documents or other information pertaining to the Redemption.

RESPONSE:        Defendant 2210/305 LLC states that the following individuals and/or
entities may have records, documents or other information pertaining to the transfer or
sale of his membership interests in Ark: Plaintiff, Ark, Hamid Sattar, James Grossi and/or
2210/350, Brian Tierney and/or his Trust, Norm Kiminaia Pursuant to Fed.R.Bankr.P. 33
and Fed.R.Civ.P 33(d), Defendant Kiminaia refers to his forthcoming document
production upon entry of an appropriate Protective Order. Investigation continues.
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Partners, LLC, and Peninsula Fund VII, LP.


     3.    Identify each of the documents to which you referred or that you relied on or

referenced for your Answer, Affirmative Defenses, and to respond to any discovery

response in the Adversary Proceeding.

RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to his forthcoming document production upon entry of an
appropriate Protective Order. Investigation continues.


     4.    Explain the factual basis for each of your Affirmative Defenses.

RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to his forthcoming document production upon entry of an
appropriate Protective Order. Investigation continues.


     5.    Identify all written or verbal agreements you entered into to acquire your

membership interest in the Debtor, the date of each such agreement, and identify all

consideration paid, the date of all payments, the source of payment and to whom

consideration was paid.

RESPONSE: Defendant Grossi acquired his 1/3 membership interest in Ark from
Defendant Hamid Sattar in June 2015. Defendant Grossi then acquired an additional 1/3
membership interest from Defendant Brian Tierney and an additional 1/3 membership
interest from Defendant Norm Kiminaia in connection with the Redemption Transactions
in or around January 2021. Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d),
Defendant Grossi refers to his forthcoming document production upon entry of an
appropriate Protective Order. Investigation continues.




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       6.   During the period of January 1, 2019 through the present, identify all

attorneys, accountants, consultants, advisers and other professionals (“Professionals”)

who assisted, advised or represented Ark (“Professional Services”), whether or not such

Professional Services were provided jointly with other entities or individuals or solely to

Ark.

RESPONSE:         Defendant 2210/305 LLC objects to this Interrogatory because it is
overly broad, unduly burdensome, unreasonable, and not reasonably calculated to lead
to the discovery of admissible evidence. Subject to and without waiving these objections,
Defendant Grossi states that the following attorneys and accountants provided
professional services to Ark during the referenced time period:

       Attorneys
       Accountants
       Other Advisors



       7.   Identify all persons who you know to have and persons you believe to have

any records, documents or other information pertaining to all payments you have

received from Ark for the period of January 1, 2020 through April 30, 2023, including but

not limited to, payments related to the Grossi Transfers and/or the Grossi Loans.

RESPONSE:        Defendant 2210/305 LLC states that the following individuals and/or
entities may have records, documents or other information pertaining to the transfer or
sale of his membership interests in Ark: Plaintiff, Ark, Hamid Sattar, James Grossi
and/or 2210/350, Brian Tierney and/or his Trust, Norm Kiminaia and/or his Trust,
BeaconView Advisors, LLC, Comerica Bank, Peninsula Capital Partners, LLC, and
Peninsula Fund VII, LP.




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     8.    Identify all employees, officers or managers of Ark who participated in or

assisted you with obtaining the Redemption Financing and completing the Redemption

transaction.

RESPONSE:        James Grossi, Brian Tierney and Norm Kiminaia.


     9.    Identify all members, managers or other persons who authorized the

Redemption on behalf of the Debtor.

RESPONSE:        James Grossi, Brian Tierney and Nameer Kiminaia.



     10.   For the period of January 1, 2020 through April 30, 2023, identify each

payment and transfer made by Ark directly to you or for your benefit, including the name

of the recipient, date of the payment, and amount of each payment.

RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to his forthcoming document production upon entry of an
appropriate Protective Order. Investigation continues.


     11.   For each bank account where payments from Ark described in Interrogatory

10. were deposited, identify the name of the bank and the name of the account holder,

the date of deposit or transfer and the amount of each deposit or transfer.

RESPONSE:         Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
Kiminaia refers to his forthcoming document production upon entry of an appropriate
Protective Order. Investigation continues.


     12.   Identify all persons who you know to have and persons you believe to have

any records, documents or other information pertaining to all payments responsive to

Interrogatory 10. above.
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RESPONSE:      Plaintiff, Ark, Comerica Bank, Peninsula Capital Partners, LLC,
Peninsula Fund VII, James Grossi, Brian Tierney, Norm Kiminaia. Investigation
continues.


     13.   For all payments and transfers responsive to Interrogatory 10. above,

provide a detailed explanation of the reason for each payment.

RESPONSE:       Defendant 2210/305 LLC states that each payment and/or transfer was
required pursuant to the pertinent agreements in connection with the Redemption
Transactions.


     14.   Identify and describe all value you transferred, conveyed or gave to Ark in

exchange for all payments and transfers identified in Interrogatory 10. including dates

that value was transferred, conveyed or given.

RESPONSE:         Defendant 2210/305 LLC state that Defendant Grossi provided value
throughout his time as a member and/or manager of Ark. 2210/305 LLC state that
Defendant Grossi expended personal funds on behalf of Ark’s business operations in
connection with Ark’s overall financial circumstances, including with respect to paying
vendors and other liabilities of Ark, and client and account development and
maintenance and employee development and maintenance, including with respect to
travel and entertainment expenses.


     15.   Explain in detail how the Redemption Purchase Price was determined.

RESPONSE:         2210/305 LLC states that Defendant Grossi stated that the price of the
redemption purchase price was determined as a result of discussions between and
among James Grossi, Brian Tierney and Nameer Kiminaia, including discussions
regarding Ark’s customers, Ark’s accounts, and Ark’s revenues and associated trends
and projections, including cash flow.




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     16.   Identify all persons who contributed to the determination of the Redemption

Purchase Price.

RESPONSE:         See Response to Interrogatory No. 15, above.



     17.   To the extent that you relied on documents or records to determine the

Redemption Purchase Price, identify the documents and records you relied upon.

RESPONSE:       See Response to Interrogatory No. 15, above. Pursuant to
Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant 2210/305 LLC refers to its
forthcoming document production upon entry of an appropriate Protective Order.



     18.   Explain in detail how the Managers and Sattar determined the purchase price

for Sattar’s former membership interest in Ark.

RESPONSE:       2210/305 LLC states that Defendant Grossi acquired his 1/3
membership interest in Ark from Defendant Hamid Sattar in June 2015. The purchase
price was determined based upon discussions with Hamid Sattar and Brian Tierney.


     19.   To the extent that you relied on documents or records to determine the

purchase price for Sattar’s membership interest, identify the documents and records you

relied upon.

RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to its forthcoming document production upon entry of an
appropriate Protective Order.


     20.   Identify all records and information you compiled, prepared and/or submitted

to BeaconView, Peninsula or Comerica in connection with facilitating or negotiating the

Redemption Financing for the Debtor.

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RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to its forthcoming document production upon entry of an
appropriate Protective Order.


      21.   For the period of January 1, 2019 through the Petition Date, identify all email

addresses, email accounts, SMS, text messaging or other instant messaging services

including all telephone numbers, usernames, handles or email addresses you used to

communicate about Ark, payments and transfers you received from Ark, the Redemption

and the Grossi Transfers (e.g. Whatsapp, Slack, Google Chat, Facebook Messenger or

other messaging services).

RESPONSE:        Defendant Grossi stated that he used the following mobile mobile
phone number and email address to communicate about Ark: Defendant Grossi’s mobile
phone service through Verizon: (248) 425-3880 and Defendant Kiminaia’s email
address: jgrossi@helixmdx.com.

      22.   During your term as manager of the Debtor, explain how the Debtor’s

financial records (including, but not limited to, the accounts payable records) were stored

or maintained, specify the name of any financial software programs used.

RESPONSE:         Defendant 2210/305 LLC states that Ark maintained paper ledgers
regarding its accounting and financial matters. [EXPAND]


      23.   Identify all records or information you identified or relied upon when you

testified on October 17, 2023 and December 1, 2023 in the Bankruptcy Proceeding that

you discovered that Ark owed $1.5 million in payables that existed prior to the

Redemption Closing Date that were not discovered by you or Lou Perez a/k/a Louis

Perez or Luis Perez until after the Redemption Closing Date.




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RESPONSE:        Pursuant to Fed.R.Bankr.P. 33 and Fed.R.Civ.P 33(d), Defendant
2210/305 LLC refers to its forthcoming document production upon entry of an
appropriate Protective Order.




      24.   Identify all loans you or any other entity you own or control obtained from Ark

and for each, identify the date of the loans and the amount of each loan.

RESPONSE:         None.



      25.   Identify all loans by you to Ark and for each, identify the date of the loans,

the reason for the loans and the amount of each loan.

RESPONSE:         EXPAND




      26.   For each Request for Admission you did not admit in its entirety, explain in

detail the reason for denying the Request for Admission in whole or in part.

RESPONSE:         See, Defendant 2210/305 LLC Objections and Responses to

Plaintiff’s First Request for Admissions.

      27.   During the period of January 1, 2020 through April 12, 2023, identify each

trip you took that involved private or commercial airplane travel that was paid for by Ark

including the location you traveled to, the purpose of the trip, and for each trip, identify

any other individuals with whom you traveled whose travel expenses were paid in full or

in part by Ark.
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RESPONSE:        EXPAND



                               REQUESTS FOR PRODUCTION

     1.    All documents referring to, relating to, and/or identifying any person and/or

entity who received the proceeds of the payments made to you or for your benefit,

including but not limited to payments related to the Grossi Transfers and repayment by

Ark of the Grossi Loans from the period of January 1, 2020 through April 30, 2023.

  RESPONSE: Defendant 2210/305 LLC objects to this Document Request because
  it is overly broad, unduly burdensome, unreasonable, seeks irrelevant and
  immaterial information and documents, and is not reasonably calculated to lead to
  the discovery of admissible evidence.


     2.    All documents and written communications (including drafts) referring or

relating to payments you received from Ark for the period of January 1, 2020 through

April 30, 2023, the Redemption, the Note Obligations and the Transfers.

  RESPONSE: Defendant 2210/305 LLC objects to this Request to the extent that it
  seeks information and documents protected from disclosure pursuant to the
  attorney-client privilege and/or work product doctrine. Subject to and without waiving
  these objections, upon entry of an appropriate Protective Order, Defendant
  2210/305 LLC will produce copies of responsive documents.




     3.    All of Defendant’s filed local, state and federal tax returns and any amended

local, state and federal tax returns for the reporting periods of 2020 through 2022.

   RESPONSE: Defendant 2210/305 LLC objects to this Document Request because
   it is overly broad, unduly burdensome, unreasonable, seeks irrelevant and immaterial
   information, and is not reasonably calculated to lead to the discovery of admissible
   evidence.
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      4.    All documents (including drafts of documents) evidencing loans, by Ark to

you or by you to Ark, including but not limited to documents evidencing payment of any

such loans or forgiveness of such loans.

   RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
   LLC will produce copies of responsive documents.

      5.    All documents (including drafts) of any business valuations or appraisals or

asset valuations or appraisals of Ark or its assets at any time from 2019 through 2023.

   RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
   LLC will produce copies of responsive documents.

      6.    All documents (including drafts) supporting the valuation of the personal

property described in the Bill of Sale.

   RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
   LLC will produce copies of responsive documents.


      7.    Produce all documents, records and information you compiled, prepared

and/or submitted to BeaconView, Peninsula or Comerica in connection with facilitating

or negotiating the Redemption Financing for the Debtor.

   RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
   LLC will produce copies of responsive documents.

      8.    All documents (including drafts) relating to the valuation of Sattar’s

membership interest.

   RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
   LLC will produce copies of responsive documents.




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      9.    All documents (including drafts) you relied on to determine the Redemption

Purchase Price.

  RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
  LLC will produce copies of responsive documents.

      10.   All documents regarding the value you transferred, conveyed or gave to Ark

in exchange for payments and transfers described in your response to Interrogatory 10.

  RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
  LLC will produce copies of responsive documents.



      11.   All documents (including drafts) memorializing Sattar’s transfer or sale of his

membership interests to the Trusts and 2210/350 or Tierney, Kiminaia and Grossi.

  RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
  LLC will produce copies of responsive documents.

      12.   All documents (including drafts) relating to the transfer, sale or conveyance

of any membership interest in Ark to you.

  RESPONSE: Defendant 2210/305 LLC objects to this Request to the extent that it
  seeks documents and information protected from disclosure pursuant to the attorney-
  client privilege and/or work product doctrine. Subject to and without waiving these
  objections, upon entry of an appropriate Protective Order, Defendant 2210/305 LLC
  will produce copies of responsive documents.
      13. All settlement agreements and draft settlement agreements relating to the

resolution of the claims and causes of action related to the Oakland County Circuit Court

Matter of Tierney Family Trust, et al, v. Ark Laboratory, LLC, et al Case No. 22-192334-

CB.

  RESPONSE: Defendant 2210/305 LLC objects to this Request to the extent that it
  seeks documents and information protected from disclosure pursuant to the attorney-
  client privilege and/or work product doctrine. Subject to and without waiving these

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  objections, upon entry of an appropriate Protective Order, Defendant 2210/305 LLC
  will produce a copy of the final settlement agreement in the above referenced matter.
      14. All documents (including drafts) evidencing the authorization for Debtor to

enter into the Redemption.

     15.

  RESPONSE: Defendant 2210/305 LLC objects to this Document Request to the
  extent that it seeks documents and information protected from disclosure pursuant to
  the attorney-client privilege and/or work product doctrine. Subject to and without
  waiving these objections, upon entry of an appropriate Protective Order, Defendant
  2210/305 LLC will produce copies of responsive documents.

     16.     All documents identified, referred to or relied upon by you to respond to in

any discovery request response in the Adversary Proceeding.

  RESPONSE: Defendant 2210/305 LLC objects to this Document Request to the
  extent that it seeks documents and information protected from disclosure pursuant to
  the attorney-client privilege and/or work product doctrine. Subject to and without
  waiving these objections, upon entry of an appropriate Protective Order, Defendant
  2210/305 LLC will produce copies of responsive documents.

     17.     All documents (including drafts) of any of Ark’s company records or

communications you have retained or that are in your possession or control.

  RESPONSE: Defendant 2210/305 LLC objects to this Request to the extent that it
  seeks documents and information protected from disclosure pursuant to the attorney-
  client privilege and/or work product doctrine. Defendant Grossi further objects to this
  Document Request because it is overly broad, unduly burdensome, unreasonable,
  and not reasonably calculated to lead to the discovery of admissible evidence.
  Subject to and without waiving these objections, upon entry of an appropriate
  Protective Order, Defendant Grossi will produce copies of responsive documents.

     18.     All documents that support your full or partial denial of any Request for

Admission.

  RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
  LLC will produce copies of responsive documents.


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     19.   All documents that support your Answer and Affirmative Defenses.

  RESPONSE: Upon entry of an appropriate Protective Order, Defendant 2210/305
  LLC will produce copies of responsive documents.


                                     Respectfully Submitted,

                                                  Respectfully submitted,
                                                  Lefkowitz Law Group

                                                  /s/ Morris B. Lefkowitz
                                                  By:Morris B. Lefkowitz (P31335)
                                                  29777 Telegraph Road, Suite 2440
                                                  Southfield, MI 48034
                                                  (248) 559-0180
Dated: May 13, 2024


                               CERTIFICATE OF SERVICE

      The undersigned states that on May 13, 2024 a Certificate of Service regarding
the foregoing document was electronically filed with the Court using the Court’s e-file
system and served upon all counsel of record via the e-file and serve system.

                                           /s/ Morris B. Lefkowitz




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